                                 UNITED STATES DISTRICT COURT
                                      ARIZONA - PHOENIX
                                          April 9, 2018
USA v. Scott Spear                          Case Number: CR-18-00422-003-PHX-SPL

                             ORDER SETTING CONDITIONS OF RELEASE
                                                                                   ~--~~~~~~~~--.

                                                                                           FlLED         LODGED
IZl PERSONAL RECOGNIZANCE
                                                                                           RECEfVED      COFY
D AMOUNT OF BOND $
    D UNSECURED                                                                              APR 0 9 2018
    D SECUREDBY
                                                                                      cl.ERK U S DISTRICT COURT    "'
    SECURITY TO BE POSTED BY                                                              OISIBJCT OF ARJZONA      ~
                                                                                    131'                  Pi;PUTY J
NEXT APPEARANCE 06/05/2018 at 9:00 AM or as directed through counsel
IZl 401 West Washington St., Phoenix, AZ, Courtroom #501, 5th Floor
D Goodwin & Cortez, US Post Office Bldg., Prescott, AZ, 2nd Floor
IT IS ORDERED that defendant is subject to the following conditions and shall:
IZl    appear at all proceedings as required and to surrender for service of any sentence imposed.
IZl    not commit any federal, state or local crime.
IZl    cooperate in the collection of a DNA sample ifthe collection is authorized by 42 U.S.C. § 14135a.
IZl    immediately advise the court, defense counsel and U.S. Attorney in writing of change in
       address/telephone number.
IZl    maintain or actively seek verifiable employment if defendant is physically or medically able and provide
       proof of such to Pretrial Services.
                                                                                                   -,

IZl    not travel outside of: Arizona unless express PRIOR Court or Pretrial Services permission is granted to do
       so.
D      avoid all direct or indirect contact with persons who are considered alleged victim(s), potential
       witness(es), family members ofvictim(s)/witness(es); and/or D the custodial parent, except Defendant
       may communicate with custodial parent solely for visitation purposes with his/her minor child(dren):
IZl    report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 602-322-7350.
D      report as directed to the U.S. PROBATION OFFICE 602-322-7400 and abide by all terms of conditions of
       Supervised Release/Probation.
D      execute an agreement to forfeit upon failing to appear as required, the bond or designated property:
D      Defendant is placed in the third party custody of.
IZl    refrain from any use of alcohol and-not use or possess any narcotic or other controlled substance defined
       by 21 U.S.C. 802 unless prescribed for defendant by a licensed medical practitioner in the course of
       his/her legitimate medical practice. This provision does not permit the use or possession of medicinal
       marijuana even with a physician's written certification.
IZl    participate in drug/alcohol counseling/treatment and submit to drug/alcohol testing, including
       breathalyzer testing and make copayment toward the cost as directed by U.S. Pretrial Services. The
       defendant shall not interfere, obstruct or tamper in any way with the administration of any Court ordered
       substance abuse testing.
IZl    shall surrender all travel documents to Pretrial Services by April 10, 2018 and will not obtain a passport or
       other travel document during the pendency of these proceedings.

D      obtain no passport.
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 D      not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
        ammunition.
 1ZJ    maintain weekly contact with Attorney Bruce Feder by Friday, noon of each week.
 D      shall timely pay his/her monthly child support payments as previously ordered by the subject state court in
        the total amount of $ .
 IZl    The defendant shall actively participate in any mental health treatment program as directed by Pretrial
        Services. The defendant shall comply with all treatment requirements including taking all medication as
        prescribed by his/her mental health care provider.
 D      shall not access via computer or possess any photographs or videos of sexually explicit conduct as defined
        by 18 U.S.C. § 2256(2).
 IZl    The defendant shall not make any financial transactions over $1,000 other than fixed living expenses
        without permission of Pretrial Services.
           '                      ADVICE OF PENALTIES AND SANCTIONS
        The commission of any offense while on pretrial release may result in an additional sentence upon
 conviction for such offense to a term of imprisonment of not more than ten years ifthe offense is a felony or a term
 of imprisonment of not more than one year ifthe offense is a misdemeanor. This sentence shall be consecutive to
 any other term of imprisonment.                                                                                 .
          Title 18 U.S.C. §1503 makes it a criminal offense punishable by imprisonment for life or by death, or,
  depending upon the specific provisions of the section not more than twenty years or by not more than ten years,
  and a $250,000 fine to intimidate a juror or officer of the court; Title 18 U.S.C. §1510 makes it a criminal offense
  punishable by up to five years imprisonment and a $250,000 fine to obstruct a criminal investigation; Title 18
  U.S.C. §1512 makes it a criminal offense punishable by imprisonment for life or by death, or, depending upon
  the specific provisions of the section by not more than twenty years or by not more than ten years and a $250,000
  fine for tampering with a witness, victim or informant; or by intentionally harassing another person and thereby
  hindering /delaying /preventing or dissuading any person from attending or testifying in an official proceeding or
  otherwise violating the section is punishable by imprisonment for not more than one year and a $250,000 fine; and
  18 U.S.C. §1513 makes it a criminal offense punishable by imprisonment for life or by death, or, depending upon
. the specific provisions of the section not more than twenty years or by not more than ten years of imprisonment,
  a fine of $250,000, or both, to retaliate against a witness, victim or informant, or threaten or attempt to do so.
          It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly fails
  to appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a court
  order. If the defendant was released in connection with a charge of, or while awaiting sentence, surrender for the
  service of a sentence, or appeal or certiorari after conviction, for:(l) an offense punishable by death, life
 -imprisonment, or imprisonment for a term of fifteen years or more, the defendant shall be fined not more than
  $250,000 or imprisoned for not more than ten years, or both;(2) an offense punishable by imprisonment for a term
  of five years or more, the defendant shall be ffned not more than $250,000 or imprisoned for not more than five
  years or both;(3) any other felony, the defendant shall be fined not more than .$250,000 or imprisoned not more
  than two years, or both; (4) a misdemeanor' the defendant shall be fined not more than $100' 000 or imprisoned not
  more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
  imprisonment for any other offense. In addition, a failure to appear may result in the forfeiture of any bail
  posted.
          If the person was released for appearance as a material witness, a fine as provided by law or imprisonment
  (or both) may be imposed for not more than one year.
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                                 ACKNOWLEDGMENT OF DEFENDANT
       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. I am aware of the penalties and sanctions set forth above.
 DATE                        ~   SIGNATURE OF DEFENDANT

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       Custodian agrees to (a) supervise the defendant in accordance with all conditions ofrelease, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition of release or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions ofrelease and acknowledge that we are bound by it until
duly exonerated.
I SIGNATURE OF CUSTODIAN(S)


Directions to United States Marshal:
IZI The defendant is ORDERED released after processing.

D The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or
   judicial officer that the defendant has posted bond and/or complied with all other conditions of release.


DATE April 9, 2018




USA, PTS/PROB, USM, DEFT, DEFT ATTY
